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                                      IN THE UNITED STATES DISTRICT COURT
            4                             CENTRAL DISTRICT OF CALIFORNIA
            5

            6     In re Application of Daniel Snyder for               Misc. Action No.
                  an Order Directing Discovery from                    2:20-mc-00076-MWF-MRW
            7
                  New Content Media Inc. d/b/a MEA
            8     WorldWide Pursuant to 28 U.S.C.                      DECLARATION OF ARI BASS
                  § 1782
            9                                                          The Honorable Michael R. Wilner

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          12
                         I, Ari Bass, declare:
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                         1.       I am over 18 years of age and have never been convicted of a crime
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                 involving fraud or dishonesty. I have first-hand knowledge of the facts set forth
          15
                 herein, and if called as a witness, could and would testify competently thereto.
          16
                         2.       I have met Mr. Randazza only three times:
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                         3.       Once, at the Circle Bar inside the Hard Rock Hotel & Casino during
          18
                 an AVN show in Las Vegas. I had gone over to say hello to a friend of mine, and
          19
                 Mr. Randazza happened to be standing there as well. I am not sure what year it
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                 was, but it was some time ago.
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                         4.       Another time I bumped into him alongside the red carpet of the XBiz
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                 show in Los Angeles. I believe that was probably around 2015.
          23
                                                                     -1-
                                                            Declaration of Ari Bass
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            1            5.       The last time I ran into Mr. Randazza, I was covering a hearing in Las
            2    Vegas that he was participating in, and I asked him for a comment outside the

            3    courtroom. He declined to give me a comment.
            4            6.       The longest conversation we have had was today, Sept. 2, 2020, when
            5    Mr. Randazza emailed me the petition and asked me to call his office. (See

            6    Exhibit A.) I called his office. We reviewed Petitioner’s Supplemental Ex Parte
            7    Petition (Dkt. No. 13) and mocked it together as a ridiculous screed, on the same
            8    logical level as a “Crazy Wall” on “Always Sunny in Philadelphia.”

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          15             7.       Mr. Randazza has never worked for me nor with me, nor vice versa.
          16             8.       We have never had any kind of business or personal relationship.
          17             9.       The only thing we really have in common is that we share a stalker –
          18     Alexandra Mayers a/k/a Monica Foster.
          19             10.      I did mention “Randazza Records” in a tweet one time. I did that to
          20     mock Alexandra Mayers’ paranoid delusions. I never expected that anyone of
          21     ordinary intelligence would think that this meant that there was such a thing.
          22             11.      My only connection to MEAWW is that my public relations company
          23     sends out press releases to hundreds of places, including MEAWW. Apparently,
                                                                     -2-
                                                            Declaration of Ari Bass
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            1    MEAWW picked up one of my releases last year, or found the story on another
            2    website and created their own version. I have never had any conversation or

            3    correspondence with anyone at MEAWW.
            4            I declare under penalty of perjury that the foregoing is true and correct.
            5            Dated:     9/2/2020                  .

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                                                                         Ari Bass
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                                                            Declaration of Ari Bass
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